
MOORE, J., delivered the opinion of the court, in which MARTIN, BOGGS, COLE, *202CLAY, GILMAN, GIBBONS, SUTTON, McKEAGUE, GRIFFIN, and WHITE, JJ., joined. MARTIN, J. (pp. 29-31), joined by Judge MOORE, and SUTTON, J. (pp. 32-35), delivered separate opinions concurring in full in the majority opinion.
BATCHELDER, C.J. (pp. 36-40), delivered a separate opinion concurring in part and dissenting in part. ROGERS, J. (pp. 41-46), delivered a separate dissenting opinion, in which COOK and KETHLEDGE, JJ., joined and in which BATCHELDER, C.J., joined in part.
OPINION
KAREN NELSON MOORE, Circuit Judge.
The former principal of Jefferson County, Tennessee’s alternative school and two former teachers at the school (collectively, “the teachers”) allege that, by closing the county’s public alternative school and contracting with Kingswood Academy (“Kingswood”) to provide alternative-school services for public-school students, the Jefferson County Board of School Commissioners and its members (collectively, “the Board” or “the defendants”) violated the teachers’ (1) First Amendment Establishment Clause rights under the U.S. Constitution and similar rights under article I, section 3 of the Tennessee Constitution; and (2) procedural and substantive due-process rights under the Fourteenth Amendment to the U.S. Constitution and article I, section 8 of the Tennessee Constitution. The teachers appeal the grant of summary judgment to the Board on all of the teachers’ claims and the denial of the teachers’ motion for partial summary judgment.
We hold that the teachers have standing to raise the Establishment Clause claim. In addition, we hold that the Board did not violate the teachers’ procedural and substantive due-process rights and that the individual Board members are entitled to legislative immunity. Therefore, we REVERSE the district court’s grant of summary judgment to the Board on the teachers’ Establishment Clause claims and the district court’s determination that legislative immunity for the Board members was moot, and REMAND to the district court for further proceedings. We AFFIRM the district court’s grant of summary judgment to the Board on the teachers’ procedural and substantive due-process claims. Finally, because we hold that the individual Board members are entitled to legislative immunity, we need not address whether they are entitled to qualified immunity.
I. BACKGROUND
A. Factual Background
The Board employed all of the teachers in this case during the 2002-2003 school year. Vickie F. Forgety and Steve B. Smith were tenured teachers. Forgety served as the principal of the alternative school. David Kucera taught under a contract that entitled him to continue in his position for another year unless he was notified by April 15, 2003 of the nonrenewal of his contract.
1. Budget Cuts
After discussion of the budget on June 26, 2003, the Board voted to eliminate several programs, including the alternative school and the positions of the teachers and principal working there. It voted again to “officially delete” the alternative school at its July 10, 2003 meeting. Joint Appendix (“J.A.”) at 351 (7/10/03 Mins, of the Regular Meeting). In addition, the Board voted at the July meeting to contract with Kingswood to provide alternative-school services for public-school students for the 2003-2004 academic year. Id. at 352. The contract between the *203Board and Kingswood specifically stated that Kingswood personnel would not be considered employees of the Board. In fact, the Director of Schools for the county, Douglas Moody, was not authorized to hire or fire the Kingswood employees who provided the alternative-school services, nor did he supervise or evaluate those individuals. Counsel for the Board, Chuck Cagle, approved the contract.
Moody submitted a “Request for Closing a School” to the Tennessee Department of Education on July 23, 2003, indicating that “[bjudget constraints for FY 2003-2004 led to a School Board decision to outsource Alternative school services on contract.” J.A. at 361. He stated that he had only one reason for recommending the Kings-wood contract to the Board: “it was entirely a financial consideration that would fit in with other budget cuts.” J.A. at 159 (Moody Dep. at 46). Similarly, the Chair of the Board, Lana Leckie, stated in her deposition that “financial costs” constituted “the primary reason to enter into the contract” and that it would save them $171,423. J.A. at 378 (Leckie Dep. at 34).
Moody informed Forgety, Smith, and Kucera of the abolishment of their positions after the Board’s decision. Each of the teachers eventually found a new position, though only one continued her employment with the Board. As tenured teachers, Forgety and Smith were placed on a “Preferred List for Re-employment of Tenured Teachers.” J.A. at 243. Forgety declined to accept the positions that the Board initially offered to her because she considered them to be inferior in pay and rank to her previous position at the alternative school; she drew unemployment for the 2003-2004 school year. When the Board offered Forgety a principalship in the spring of 2004, she accepted. Smith, however, did not respond to the Board’s offer of a History position in the fall of 2003; he had accepted a history position in Georgia in late July 2003. Kucera, a nontenured teacher, drew unemployment pay for two months; by November 2003, he had not received any offers of employment from the Board in areas in which he was certified. Eventually, he took a job with Mountain View Youth Development Center as a case manager.
2. Kingswood
In a sworn statement, the “Administrator” of Kingswood, Darrell M. Helton, stated that the school is an accredited private school, providing “day treatment programs for children and adolescents who have behavioral and/or emotional problems.” J.A. at 178 (Sworn Statement of Helton). Helton noted that the school is licensed by the Tennessee Department of Mental Health and Developmental Disabilities. Also, he noted that an April 2005 study of Tennessee’s alternative schools by “the Tennessee Comptroller of the Treasury Office of Education Accountability ... specifically identified as [sic] Kingswood School, Inc. [as] a private contract provider of alternative school services that local education agencies could explore to provide alternative schooling to their students.” Id.; J.A. 327 (Tennessee’s Alternative Schools at 37). In addition, Helton stated that Kingswood had contracted with Jefferson, Grainger, Hancock, and Claiborne counties in Tennessee to provide alternative-school services.
Kingswood’s promotional materials state that “[f|or over 60 years Kingswood School and Home for Children has helped children who have been abused, abandoned and neglected. Kingswood School is unique because we offer children a Christian environment of love and encouragement.” J.A. at 454 (Happy Easter, 2006 letter from Kingswood). The school’s 2005 Annual Report states that
*204Kingswood was founded with the intent to insure that each child placed in its care receives Christian religious training. A unique feature of the Kingswood program is the emphasis that is placed upon instilling in each child a personal faith in God, and the assurance of the saving grace of Jesus Christ while remaining unaffiliated with any specific denomination or Church.
J.A. at 457 (Annual Report). The 2005 Annual Report also states that Kings-wood’s “ministry” can be supported in many ways. Id. at 456. Although the residential-care description states that there is an “emphasis” on “spiritual” growth, the day-treatment description does not include that statement. Id.
B. Procedural Background
The district court consolidated cases brought by Forgety, Smith, and Kucera.1 Together the teachers brought suit against the Jefferson County School Board of Commissioners and its members in their official and individual capacities2 under 42 U.S.C. § 1983, the Establishment Clause, and the Fifth and Fourteenth Amendments to the U.S. Constitution. Also, they brought suit under various provisions of the Tennessee Constitution and Code. The teachers sought declaratory relief and damages. Specifically, their third amended complaint requested
1. That this Court issue a judgment declaring that the acts of School Defendants in eliminating the Jefferson County Alternative School Program were illegal and ultra vires acts, and thus were void acts. Further, and accordingly, that this Court further declare that any procedural due process which attached to those void acts was likewise void. Further, that this Court directly evaluate the challenged procedures to ensure that they comport with due process, and that this Court declare that the procedures invoked by School Defendants did not so comport with due process.
2. That this Court issue a judgment declaring that the acts of School Defendants hereinbefore complained of violated the Due Process Clauses of the Fifth and Fourteenth Amendments to the United States Constitution, 42 U.S.C. § 1983, the Constitution of the State of Tennessee, and Tennessee Code Annotated §§ 49-2-203, 49-5-501 et seq., and 49-6-3402, and further denied Plaintiffs equal protection of the law. Further that this Court issue a judgment declaring that the acts of School Defendants hereinbefore complained of violated Plaintiffs’ constitutional rights protecting them from the impairment of the obligations of their contracts.... That the Court also issue a judgment finding and declaring that the acts of the Defendants violated Plaintiffs’ rights under The Establishment Clause of the First Amendment to the United States Constitution and under Article I, Section 3 of the Tennessee Constitution.
3. That this Court issue a judgment directing School Defendants to make *205Plaintiffs whole for all losses of wages, benefits, and all other terms and conditions of employment, and further directing and ordering said Defendants to pay compensatory damages to Plaintiffs for all damages Plaintiffs have suffered ... in the amount of $1,000,000.00 for Plaintiff, Steve B. Smith, in the amount of $100,000.00 for Plaintiff, David Kucera, and in the amount of $1,000,000.00 for Plaintiff Vickie F. Forgety.
J.A. at 58 (Third Am. Compl. ¶ 40).
On August 9, 2006, the teachers moved for partial summary judgment “on the Federal Establishment Clause and Due Process claims and upon the pendent State claims, on the issue of liability, and the legality of Defendants’ actions.” J.A. at 390. Less than two weeks later, the Board filed a cross-motion for summary judgment. The Tennessee Education Association filed an amicus curiae brief. On November 2, 2006, 2006 WL 3196919, the district court denied the teachers’ motion for partial summary judgment and granted the Board’s motion for summary judgment, in part for lack of standing. The teachers filed a timely appeal.
II. ANALYSIS
A. Standards of Review
We review a district court’s grant of summary judgment de novo. Mazur v. Young, 507 F.3d 1013, 1016 (6th Cir.2007). “Summary judgment is proper if the evidence, taken in the light most favorable to the nonmoving party, shows that there are no genuine issues of material fact and that the moving party is entitled to a judgment as a matter of law.” Id. (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986); Fed.R.Civ.P. 56(c)). “Although the denial of a motion for summary judgment is usually an interlocutory order that is not immediately appealable, where an appeal from a denial of summary judgment is presented in tandem with a grant of summary judgment, this court has jurisdiction to review the propriety of the district court’s denial of summary judgment.” Tenn. ex rel. Wireless Income Props., LLC v. City of Chattanooga, 403 F.3d 392, 395 (6th Cir.2005) (internal quotation marks omitted). We review de novo denials of motions for summary judgment “ ‘on purely legal grounds’ ”; we review for abuse of discretion denials “based on the finding of a genuine issue of material fact.” Id. at 395-96 (quoting McMullen v. Meijer, Inc., 355 F.3d 485, 489 (6th Cir.2004)).
When the district court reaches conclusions of law regarding standing, we review the district court’s decision de novo. Doe v. Potter, 370 F.3d 558, 561 (6th Cir. 2004). In addition, “the issue whether qualified immunity is applicable to an official’s actions is a question of law.” Dickerson v. McClellan, 101 F.3d 1151, 1157 (6th Cir.1996). Finally, if a district court does not rule on an issue that the parties raised in their summary-judgment motions, we may rule on such issues under 28 U.S.C. § 2106 without remanding them, as long as the parties were given a full and fair opportunity to address those issues. See Trustees of the Mich. Laborers’ Health Care Fund v. Gibbons, 209 F.3d 587, 594-95 (6th Cir.2000) (holding that a court of appeals may order entry of summary judgment when “the parties ... had a chance to dispute facts material to the plaintiffs’ claim”); United States v. 5 S 351 Tuthill Road, Naperville, Ill., 233 F.3d 1017, 1024-25 (7th Cir.2000) (reversing the district court’s holding that a claimant did not have standing and determining that summary judgment was not appropriate for either party because key facts were not included in the record).
*206B. Establishment Clause Claim
As a threshold matter, we must determine whether the teachers have standing to bring their federal Establishment Clause claim. Although the parties’ cross-motions for summary judgment raised the issue of whether the teachers had established both individual standing and municipal-taxpayer standing, the district court addressed only individual standing in its decision. The district court concluded that the teachers did not meet the individual-standing requirements because their alleged injuries were the direct result of the Board’s decision to allow a third party to run the alternative school, not the result of that third party being a “faith based organization.” J.A. at 69 (Dist. Ct. Op. at 9). On appeal, the teachers argue that they meet the requirements for both individual standing and municipal-taxpayer standing. We hold that none of the teachers have individual standing to bring suit, but Forgety and Kucera meet the municipal-taxpayer standing requirements.
1. Standing as Individuals
Standing to bring suit must be determined at the time the complaint is filed. Lynch v. Leis, 382 F.3d 642, 647 (6th Cir.2004), cert. denied, 544 U.S. 949, 125 S.Ct. 1709, 161 L.Ed.2d 526 (2005). A plaintiff must meet both constitutional and prudential requirements to establish individual standing. Warth v. Seldin, 422 U.S. 490, 498, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). To meet the minimum constitutional standards for individual standing under Article III,
a plaintiff must show (1) it has suffered an “injury in fact” that is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed by a favorable decision.
Friends of the Earth, Inc. v. Laidlaw Envtl. Sews. (TOC), Inc., 528 U.S. 167, 180-81, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000). The Supreme Court “repeatedly has rejected claims of standing predicated on the right, possessed by every citizen, to require that the Government be administered according to law.” Valley Forge Christian Coll. v. Ams. United for Separation of Church &amp; State, Inc., 454 U.S. 464, 482-83, 102 S.Ct. 752, 70 L.Ed.2d 700 (1982) (internal quotation marks omitted).
A plaintiff must also meet the following prudential requirements for standing developed by the Supreme Court. First, a “plaintiff generally must assert his own legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of third parties.” Id. at 474, 102 S.Ct. 752 (internal quotation marks omitted). Second, a plaintiff must present a claim that is “more than a generalized grievance.” City of Cleveland v. Ohio, 508 F.3d 827, 835 (6th Cir.2007) (internal quotation marks omitted). Finally, the complaint must “fall within ‘the zone of interests to be protected or regulated by the statute or constitutional guarantee in question.’ ” Valley Forge, 454 U.S. at 475, 102 S.Ct. 752 (quoting Ass’n of Data Processing Serv. Orgs. v. Camp, 397 U.S. 150, 153, 90 S.Ct. 827, 25 L.Ed.2d 184 (1970)).
Here, the teachers clearly satisfy the constitutional requirements for standing, at least as to damages. They suffered the injury of losing their jobs; that injury was the direct result of the Board’s decision to abolish the public alternative school and to contract with Kingswood;3 and the *207injury can be redressed by an order that the Board compensate the teachers for lost salary and benefits,4 a resolution well within the remedial power of the courts. See Singleton v. Wulff, 428 U.S. 106, 112-13, 96 S.Ct. 2868, 49 L.Ed.2d 826 (1976) (holding that “there is no doubt” that a Missouri statute prohibiting the use of Medicaid benefits for abortions caused plaintiff physicians concrete injury and that their injury was redressable).
Under the prudential limitations on standing, however, even when litigants have established a substantial injury from a government action, they “cannot challenge its constitutionality unless [they] can show that [they are] within the class whose constitutional rights are allegedly infringed.” Barrows v. Jackson, 346 U.S. 249, 256, 73 S.Ct. 1031, 97 L.Ed. 1586 (1953). The teachers’ injury lies in the termination of their employment. Although they emphasize that their jobs “were expropriated for the benefit of a sectarian institution,” Appellant Supp. Br. at 11, they do not claim specific losses resulting from their replacement by religious employees rather than nonreligious ones, and any psychological injury arising from the fact that public-school instruction is now taking place in a private religious institution would be a generalized grievance unless they can establish taxpayer standing (addressed below). See Valley Forge, 454 U.S. at 483, 485-86, 102 S.Ct. 752 (“Although respondents claim that the Constitution has been violated, they claim nothing else. They fail to identify any personal injury suffered by them as a consequence of the alleged constitutional error, other than the psychological consequence presumably produced by observation of conduct with which one disagrees. That is not an injury sufficient to confer standing under Art. Ill, even though the disagreement is phrased in constitutional terms.”). When plaintiffs challenging government action under the Establishment Clause “allege only economic injury to themselves” and “do not allege any infringement of their own religious freedoms,” they will have standing only if they may raise the constitutional claims of third parties. McGowan v. Maryland, 366 U.S. 420, 429, 81 S.Ct. 1101, 6 L.Ed.2d 393 *208(1961). In this case, the most obvious third parties whose rights are implicated are the students who may be exposed to religion at Kingswood and their parents.
“Ordinarily, one may not claim standing in this Court to vindicate the constitutional rights of some third party.” Barrows, 346 U.S. at 255, 73 S.Ct. 1031. The Supreme Court has observed, however, that its salutary rule against third-party standing is not absolute. Kowalski v. Tesmer, 543 U.S. 125, 129, 125 S.Ct. 564, 160 L.Ed.2d 519 (2004). The rule “should not be applied where its underlying justifications are absent.” Singleton, 428 U.S. at 114, 96 S.Ct. 2868. In deciding when not to apply the rule, the Court has considered “two factual elements”:
The first is the relationship of the litigant to the person whose right he seeks to assert. If the enjoyment of the right is inextricably bound up with the activity the litigant wishes to pursue, the court at least can be sure that its construction of the right is not unnecessary in the sense that the right’s enjoyment will be unaffected by the outcome of the suit. Furthermore, the relationship between the litigant and the third party may be such that the former is fully, or very nearly, as effective a proponent of the right as the latter.
Id. at 114-15, 96 S.Ct. 2868. Elsewhere, the Court has described this test as requiring that “the party asserting the right has a ‘close’ relationship with the person who possesses the right,” and that “there is a ‘hindrance’ to the possessor’s ability to protect his own interests.” Kowalski, 543 U.S. at 130, 125 S.Ct. 564 (quoting Powers v. Ohio, 499 U.S. 400, 411, 111 S.Ct. 1364, 113 L.Ed.2d 411 (1991)); see also Singleton, 428 U.S. at 115-16, 96 S.Ct. 2868.
The teachers may have a sufficiently close relationship to their students to satisfy the first prong of the test for third-
party standing. The Supreme Court “has found an adequate ‘relation’ ... when nothing more than a buyer-seller connection was at stake.” Kowalski, 543 U.S. at 139, 125 S.Ct. 564 (Ginsburg, J., dissenting) (citing cases). In Craig v. Boren, 429 U.S. 190, 97 S.Ct. 451, 50 L.Ed.2d 397 (1976) , the Court allowed a licensed beer vendor to assert the equal-protection rights of young men in challenging a law that allowed women aged eighteen to twenty-one years old, but not men of the same ages, to purchase low-alcohol beer. Id. at 195, 97 S.Ct. 451. In Carey v. Population Services International, 431 U.S. 678, 97 S.Ct. 2010, 52 L.Ed.2d 675 (1977) , the Court found that a retail seller of contraceptive devices had standing to raise the due-process rights of its potential customers to challenge a statute variously limiting and prohibiting the distribution of contraceptives and barring their advertisement. Id. at 683-84, 97 S.Ct. 2010. The teachers have a closer relationship to their students than was involved in either Craig or Carey because the teachers were responsible for the students’ daily education; in the instant case, their rights and injuries are inextricably linked, and the teachers likely would be forceful advocates for the students’ rights. See Pierce v. Soc’y of the Sisters of the Holy Names of Jesus &amp; Mary, 268 U.S. 510, 534-36, 45 S.Ct. 571, 69 L.Ed. 1070 (1925) (allowing private schools to represent the due-process rights of parents whose children were required by law to attend public school); see also Barrows, 346 U.S. at 257, 73 S.Ct. 1031 (citing Pierce as an example in which third-party standing was granted).
Although the teachers may be able to meet the first prong of the test for third-party standing, they cannot meet the second. Unlike in the key cases in which the Supreme Court has permitted third-party claims, we discern no indication here *209that the students or their parents face any obstacle in litigating their rights themselves. There is no evidence that the students or their parents might be deterred from suing. See, e.g., Singleton, 428 U.S. at 117, 96 S.Ct. 2868 (allowing physicians to challenge exclusion of abortions from Medicaid coverage when women would be chilled by desire to protect privacy); Eisenstadt v. Baird, 405 U.S. 438, 445-46, 92 S.Ct. 1029, 31 L.Ed.2d 349 (1972) (allowing seller of contraceptives to assert equal-protection rights of potential purchasers for the same reason); Griswold v. Connecticut, 381 U.S. 479, 481, 85 S.Ct. 1678, 14 L.Ed.2d 510 (1965) (allowing physicians to challenge a law criminalizing use of contraceptives on behalf of married couples for the same reason); NAACP v. Alabama, 357 U.S. 449, 459, 78 S.Ct. 1163, 2 L.Ed.2d 1488 (1958) (allowing organization to asserts its members’ rights to nondisclosure of membership lists to prevent “nullification of the right at the very moment of its assertion”). Nor is there evidence here that the claims of the students would be imminently moot, see, e.g., Singleton, 428 U.S. at 117, 96 S.Ct. 2868 (pregnant women); Craig, 429 U.S. at 192, 97 S.Ct. 451 (men aged eighteen to twenty), or that the students face systemic practical challenges to filing suit, see, e.g., Powers, 499 U.S. at 414, 111 S.Ct. 1364 (allowing criminal defendants to raise potential jurors’ equal-protection rights against race-based peremptory strikes because jurors’ small financial stake, the expense of litigation, and the limited availability of equitable relief made juror suits rare. in practice). For this reason, the teachers’ claims run afoul of the prudential limit on third-party standing. Therefore, the teachers do not have individual standing to sue for damages.
2. Standing as Municipal Taxpayers
The teachers next argue that because they are municipal taxpayers, they have standing to challenge the Kingswood outsourcing as an expenditure of municipal funds alleged to be in violation of the Establishment Clause. As a threshold matter, we note that Jefferson County is considered a municipality under Tennessee law. Weakley County Mun. Elec. Sys. v. Vick, 43 Tenn.App. 524, 309 S.W.2d 792, 804 (1957) (“Counties in this State have always been held to be public municipal corporations with limited powers, and liable as such.” (internal quotation marks omitted)); Jackson v. City of Paris, 33 Tenn.App. 55, 228 S.W.2d 1015, 1016 (1949). In addition, the Board did not dispute on appeal that Forgety and Kucera were taxpayers of the municipality at the time they brought suit. Finally, we note that Smith was not a taxpayer in Jefferson County at the time the complaint was filed, as he had moved to Georgia to pursue another teaching opportunity there. There is no danger of Smith’s tax dollars being spent in violation of the Constitution. Thus, the doctrine of municipal-taxpayer standing may apply only to Forgety and Kucera.
The Supreme Court recognizes three types of taxpayer standing: federal, state, and municipal. All three categories of taxpayers must demonstrate that they were injured, that the challenged action caused their injury, and that the court could provide relief to redress that injury. D.C. Common Cause v. District of Columbia, 858 F.2d 1, 5 (D.C.Cir.1988) (citing Allen v. Wright, 468 U.S. 737, 751, 104 S.Ct. 3315, 82 L.Ed.2d 556 (1984)). In Frothingham v. Mellon, 262 U.S. 447, 487, 43 S.Ct. 597, 67 L.Ed. 1078 (1923), the Supreme Court held that federal taxpayers have no standing to challenge the unconstitutional use of their tax dollars. The Court reasoned that “[t]he administration of any statute, likely to produce additional *210taxation to be imposed upon a vast number of taxpayers, the extent of whose several liability is indefinite and constantly changing, is essentially a matter of public and not of individual concern.” Id.5 The Court has likewise refused to confer standing on state taxpayers who show “merely that [they] suffer[ ] in some indefinite way in common with people generally,” requiring them to raise a “good-faith pocketbook action” that involves “a direct dollars-and-cents injury.” Doremus v. Bd. of Educ. of Borough of Hawthorne, 342 U.S. 429, 434, 72 S.Ct. 394, 96 L.Ed. 475 (1952).
Plaintiffs seeking to establish municipal-taxpayer standing are required to meet a less rigorous injury standard than those seeking standing as federal or state taxpayers. Unlike federal or state taxpayers, municipal taxpayers may fulfill the injury requirement by pleading an alleged misuse of municipal funds. Frothingham, 262 U.S. at 486, 43 S.Ct. 597. The Supreme Court has explained the rationale for its interpretation of the injury necessary to establish municipal-taxpayer standing:
The interest of a taxpayer of a municipality in the application of its moneys is direct and immediate and the remedy by injunction to prevent their misuse is not inappropriate. It is upheld by a large number of state cases and is the rule of this court.... The reasons which support the extension of the equitable remedy to a single taxpayer in such cases are based upon the peculiar relation of the corporate taxpayer to the corporation, which is not without some resemblance to that subsisting between stockholder and private corporation.
Id. at 486-87, 43 S.Ct. 597 (citations omitted). As we have noted, this reasoning “appears to rest on the assumption that the relatively small number of taxpayers involved and the close relationship between residents of a municipality and their local government results in a direct and palpable injury whenever tax revenues are misused.” Taub v. Kentucky, 842 F.2d 912, 918 (6th Cir.1988). Although this assumption could be questioned in an age in which some cities boast populations in the millions, the rule “is one that the Supreme Court has maintained for 86 years and one we have no authority to second guess.” Am. Atheists, Inc. v. City of Detroit Downtown Dev. Auth., 567 F.3d 278, 287 (6th Cir.2009); see also DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 349, 126 S.Ct. 1854, 164 L.Ed.2d 589 (2006) (noting that the issue of municipal taxpayers’ standing to challenge a municipal tax exemption had not been raised and that the plaintiffs could not “leverage the notion of municipal taxpayer standing” to challenge a state franchise tax credit).
The defendants, however, argue that municipal taxpayers must show more than an alleged misuse of municipal funds. They contend that a potential plaintiff must show that the challenged government action resulted in a depletion of the munic*211ipal fisc. Appellees Supp. Br. at 13-14. The theory is that only an action that reduces the municipality’s total funds, and thereby increases the risk that taxes will be raised, constitutes the dollars-and-cents pocketbook injury required by Doremus. Because the school board actually saved money by outsourcing its alternative-education needs to Kingswood, the defendants reason, the allegedly unconstitutional action could not possibly result in higher municipal taxation, and the teachers thus have no cognizable injury as taxpayers.
We reject the exhortation to apply this novel rule. There is no precedent for a requirement that municipal taxpayers show that an unconstitutional act shrinks the public treasury in order to establish standing. Indeed, any such rule would run directly counter to case law from the Supreme Court, from this court, and from our sister circuits.
As noted above, the Supreme Court has clearly stated that “resident taxpayers may sue to enjoin an illegal use of the moneys of a municipal corporation” and that “the remedy by injunction to prevent their misuse is not inappropriate.” Frothingham, 262 U.S. at 486, 43 S.Ct. 597 (emphasis added); see also Doremus, 342 U.S. at 433-34, 72 S.Ct. 394 (quoting Frothingham’s statement that a municipality’s taxpayers have a “direct and immediate” interest “in the application of its moneys” and can sue based on “misuse” (internal quotation marks omitted)); Taub, 842 F.2d at 918 (explaining municipal-taxpayer standing as based on the theory that such taxpayers suffer “a direct and palpable injury whenever tax revenues are misused ” (emphasis added)). On that basis, a municipal taxpayer has standing to challenge any unconstitutional appropriation or expenditure, regardless of whether more money would have been spent had the government remained within constitutional bounds. Taxpayer standing in this context will not turn on whether it was a bargain to violate the Constitution.
The idea that the unconstitutional spending of taxpayer money is itself an injury, actionable at the municipal level even if not at the federal level, is rooted in the stockholder analogy drawn by the Supreme Court in Frothingham. A person who owns stock in a corporation values profitability, but she also has an interest in seeing her money well spent by the corporate officers. “Like a shareholder of a private corporation, a municipal taxpayer has an immediate interest in how the municipality spends resources that reflect his contributions.” Am. Atheists, 567 F.3d at 285.6
The defendants’ argument under Doremus to suggest otherwise is misplaced because that case concerned state-taxpayer standing and does not govern the case at bar. In Doremus, state taxpayers challenged a New Jersey statute that provided for the reading, without comment, of the Old Testament in public schools at the beginning of each school day. Requiring the plaintiffs to establish that their suit was a “good-faith pocketbook action,” the Court denied standing because “the grievance which it is sought to litigate here is not a direct dollars-and-cents injury but is a religious difference.” Doremus, 342 U.S. at 434, 72 S.Ct. 394. The Court, however, did not lay down any rules about municipal-taxpayer suits, and has repeatedly con*212strued Doremus as a state-taxpayer case. See Hein v. Freedom From Religion Foundation, Inc., 551 U.S. 587, 600, 127 S.Ct. 2553, 168 L.Ed.2d 424 (2007) (describing Doremus as a case involving “a state taxpayer’s claim”); DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 345, 126 S.Ct. 1854, 164 L.Ed.2d 589 (2006) (same);7 id. at 354, 126 S.Ct. 1854 (Ginsburg, J., concurring) (same); ASARCO Inc. v. Kadish, 490 U.S. 605, 613, 109 S.Ct. 2037, 104 L.Ed.2d 696 (1989) (same); United States v. City of New York, 972 F.2d 464, 471 (2d Cir.1992) (noting that Doremus involved state taxpayers and finding nothing in the case “to convince us that Frothingham’s view of municipal taxpayer standing is not still good law”).8 We implicitly recognized the limits of Doremus’s reach in Taub, acknowledging the Supreme Court’s theory that municipal taxpayers necessarily suffer when government money is misspent but denying state taxpayers standing to challenge the spending of tax revenues to facilitate the construction of an automotive assembly plant. Taub, 842 F.2d at 918-19.
We recognize that some circuits have invoked Doremus’s “good-faith pocketbook action” language in eases involving municipal taxpayers, although never to hold that standing depends on a net loss to the municipal fisc. See ACLU-NJ v. Twp. of Wall, 246 F.3d 258, 262 (3d Cir.2001); Koenick v. Felton, 190 F.3d 259, 263 (4th Cir.1999); Clay v. Fort Wayne Cmty. Sck, 76 F.3d 873, 879 (7th Cir.1996); Cammack v. Waihee, 932 F.2d 765, 770 (9th Cir.1991); D.C. Common Cause v. District of Columbia, 858 F.2d 1, 4 (D.C.Cir.1988). Their reasons for using Doremus’s language have not been particularly convincing. The Third and Seventh Circuits appeared to overlook the state/municipal distinction and to believe that Doremus itself applied its new rule to municipal taxpayers. See ACLU-NJ, 246 F.3d at 262; Clay, 76 F.3d at 879. The Fourth Circuit simply deferred to the Ninth Circuit. See Koenick, 190 F.3d at 263 (citing Cammack). The Ninth and D.C. Circuits relied on the Doremus Court’s citation of Frothingham as evidence that the Court meant the pocketbook-injury requirement to extend to municipal-taxpayer cases, Cammack, 932 F.2d at 770; D.C. Common Cause, 858 F.2d at 4, but nothing about Doremus’s citation of Frothingham suggests that inference. In Doremus, the Court cited Frothingham’s two rules — that federal-taxpayer standing generally is not permitted and that municipal-taxpayer standing to challenge misuse of funds generally is permitted — before proceeding to craft rules for state taxpayers. In doing so, the Court made no more mention of municipal taxpayers and instead noted the application to both federal and state taxpayers of the rule that common, indefinite suffering is insufficient for standing. Doremus, 342 U.S. at 434, 72 S.Ct. 394. Far from draw*213ing together state-and municipal-taxpayer standing, the Court linked state-and federal-taxpayer standing. See id. (“[W]e reiterate what the Court said of a federal statute as equally true when a state Act is assailed.... ”). Finally, the Ninth Circuit pointed to the fact that the Doremus Court, after declaring that state taxpayers must show a direct injury resulting from an allegedly invalid statute to establish standing, felt the need to “harmonize[ ] its announced rule with a school district taxpayer case,” Everson v. Board of Education of Ewing Township, 330 U.S. 1, 67 S.Ct. 504, 91 L.Ed. 711 (1947). Cammack, 932 F.2d at 770. In Everson, the Court assumed that school-district taxpayers had standing to challenge a board of education’s decision to reimburse the parents of parochial-school children for busing costs. The Doremus Court’s citation of Everson is a precarious basis on which to extend the pocketbook-injury requirement, however. Doremus cited Everson just after it held that taxpayers had to establish a direct injury to challenge “a state Act.” Doremus, 342 U.S. at 434, 72 S.Ct. 394. The Doremus Court likely cited Everson because the plaintiffs in Everson had also challenged the state statute authorizing the board to make rules for school transportation. Thus, the Everson case was relevant in Doremus because it involved a challenge to state law, not because it involved a municipal-taxpayer challenge to municipal action. Certainly, if the Court had intended the pocketbook-injury requirement to apply to municipal taxpayers, it could have said so much more directly.9
More importantly, while some of our sister circuits have cited Doremus’s pocketbook-injury language in municipal-taxpayer cases, they have not applied it in the way that the defendants urge. None has required municipal taxpayers to show a depletion of public funds to reach the courthouse door. To the contrary, all agree that the unconstitutional expenditure of government funds can itself be injury enough to confer municipal-taxpayer standing. See Koenick, 190 F.3d at 263 (applying the principle that “a municipal taxpayer has standing in cases where the litigant’s only injury is the alleged improper expenditure of municipal funds”); City of New York, 972 F.2d at 466 (holding that “municipal taxpayers do have standing to challenge municipal expenditures even where there is no likelihood that resulting savings will inure to the benefit of the taxpayer”); Cammack, 932 F.2d at 770 (“[W]e conclude that municipal taxpayer standing simply requires the ‘injury’ of an allegedly improper expenditure of municipal funds....”); D.C. Common Cause, 858 F.2d at 5 (“The Supreme Court has never required state or municipal taxpayers to demonstrate that their taxes will be reduced as a result of a favorable judgment.”); Donnelly v. Lynch, 691 F.2d 1029, 1031 (1st Cir.1982) (in suit involving Christian nativity scene in city-sponsored Christmas display on public property, finding standing based on the longstanding rule that municipal taxpayers can challenge “allegedly unconstitutional use of their tax dollars”), rev’d on other grounds, 465 U.S. 668, 104 S.Ct. 1355, 79 L.Ed.2d *214604 (1984); cf. ACLU-NJ, 246 F.3d at 263-64 (denying taxpayer standing because the plaintiffs failed to show that the maintenance of a religious holiday display near the entrance of a government building involved an expenditure); Doe v. Duncanville Indep. Sch. Dist., 70 F.3d 402, 408 (5th Cir.1995) (denying taxpayer standing where there was no evidence that the school district spent any funds on the distribution in school of Bibles, which were simply left on a table in the school by the Gideons); Freedom from Religion Found., Inc. v. Zielke, 845 F.2d 1463, 1470 (7th Cir.1988) (denying taxpayer standing where there was no evidence that the city had used tax revenues to maintain a display of the Ten Commandments in a public park).
This approach is perfectly consistent with our own case law, which has conferred standing on municipal taxpayers who challenge government expenditures that allegedly violate the Constitution. In American Atheists, we explained that “[o]nly if the challenged local government action involves neither an appropriation nor expenditure of city funds will the municipal taxpayer lack standing, for in that case he will have suffered no ‘direct dollars-and-cents injury.’ ” Am. Atheists, 567 F.3d at 285. We held that municipal taxpayers had standing to challenge grants given to three churches as part of a downtown revitalization project, reasoning that “[a]ll that matters is that American Atheists alleges that Detroit — a city — misspent taxes its members have paid.” Id. at 286; cf. Pedreira v. Ky. Baptist Homes for Children, Inc., 579 F.3d 722, 731 (6th Cir. 2009) (holding that state taxpayers had standing to challenge state funding of a home for at-risk children that allegedly used the funds for religious activities); id. at 733 (listing cases in which courts “have upheld taxpayer standing when grants, contracts, or other tax-funded aid are provided to private religious organizations pursuant to explicit legislative authorization”).
Undeterred, the defendants cite our decision in Hawley v. City of Cleveland, 773 F.2d 736 (6th Cir.1985), in support of their contention that an expenditure of municipal funds will not suffice for standing unless that expenditure entails the depletion of the public fisc. The citation is misleading. Hawley is part of a line of cases in which the alleged injury was not the spending of tax money, but the failure to collect it in the first place. In Hawley, Cleveland taxpayers sued to enjoin the local airport’s lease of space to the Catholic Diocese for use as a chapel at an allegedly below-market rate. We concluded that standing existed on the theory that the lease to the diocese may have brought the city less money than it would have earned renting the space to another entity. Hawley, 773 F.2d at 741-42. Similarly, in Steele v. Industrial Development Board, No. 93-5350, 1994 WL 599458, at *1 (6th Cir. Nov.l, 1994) (unpublished opinion), we granted municipal taxpayers standing to challenge the issuance of tax-exempt bonds to a church-run university, again on the basis of reduced revenues flowing into the city’s coffers. And in Johnson v. Economic Development Corp. of the County of Oakland, 241 F.3d 501, 508-09 (6th Cir. 2001), we held that the loss of revenue potentially incurred by the issuance of tax-exempt bonds to finance construction at a Catholic school gave state taxpayers standing to sue. In each of these cases, standing necessarily was linked to the plaintiffs’ tax burden: as they had no direct interest in the conferral of tax breaks on third parties — that is, in the treatment of other people’s money — they could state an injury based only on the potential that their own taxes might rise as a consequence. The same cannot be said of expenditure cases, *215in which taxpayers can articulate the separate injury that the government is spending their tax money illegally. Such plaintiffs complain not that the government, having spent certain money, might demand more of them, but rather that it has misspent what it has already collected.
In sum, the rule that plaintiffs must show depletion of the public fisc in order to access the courts has no foundation, explicit or implied, in the binding decisions of the Supreme Court. And with good reason. Determining whether a municipality “lost” or “saved” money raises a host of implementation problems. Consider the Kingswood contract. One method to calculate depletion is to compare the average yearly cost of the Kingswood contract with the average yearly cost of the alternative public school during its final five years. But the results might differ if the court compares the last year of the alternative school with the first year of Kingswood. Moreover, because both methods rely on past costs, neither would prove reliable if the market for alternative schools changes. The Kingswood contract might “save” the municipality money in the short term, but five years from now, the (now-closed) alternative public school might be the more cost-effective option. There is no principled way to determine what costs or savings we should compare and over what time period we should compare them.
The Court has specifically carved out an expansive understanding of taxpayer standing at the municipal level, Frothingham, 262 U.S. at 486-87, 43 S.Ct. 597, and the imposition of the defendants’ rule would have the peculiar contrary effect of rendering municipal-taxpayer standing narrower than federal-taxpayer standing in some cases. Had Congress taken the action at issue here, federal taxpayers surely would have standing under Flast, which did not require that unconstitutional spending result in a net loss to the federal treasury. By the same token, a local government should not be able to evade suit simply because it was cheaper to violate the Constitution. Because Forgety and Kucera allege that the county spent their tax dollars in violation of the Constitution when it outsourced alternative education to Kingswood — and regardless of whether the county would have spent more to follow the law — they meet the injury element of standing as municipal taxpayers under Frothingham.
We turn, then, to the requirements of causation and redressability. When plaintiffs’ sole request for relief is an order enjoining the conduct at issue, “causation and redressability are essentially identical requirements.” D.C. Common Cause, 858 F.2d at 5 (citing Allen, 468 U.S. at 753 n. 19, 104 S.Ct. 3315). The D.C. Circuit has explained how to apply these elements to taxpayers who challenge an unconstitutional expenditure:
The taxpayer’s injury is not the payment of taxes, for which the only cure would be a rebate or reduction in taxes. Just as the shareholder need not prove that the funds he claims the Board of Directors has misapplied will be returned to him as a dividend, so the taxpayer need not show that the specific taxes he paid were used unlawfully, nor that his taxes will be reduced as a result of the judgment. By enjoining an illegal expenditure, the court can redress the taxpayer’s injury caused by the misuse of public funds and ensure that the funds will be devoted to lawful purposes of possible benefit to the taxpayers.
Id. at 5. On this persuasive reasoning, we hold that Forgety and Kucera meet the causation and redressability requirements of Article III. Accordingly, they have established municipal-taxpayer standing. *216The district court erred in implicitly concluding otherwise.
With respect to the teachers’ Establishment Clause claims under the U.S. Constitution, we REMAND the case to the district court for further proceedings consistent with this opinion. We also REMAND the teachers’ Establishment Clause claims under the Tennessee Constitution for the district court to consider in the first instance.
C. Procedural Due Process
In addition to their Establishment Clause claim, the teachers also raise a procedural-due-process claim. The district court did not analyze this claim; instead, it granted summary judgment to the Board based on its holding that the teachers failed to pursue their post-deprivation remedies. The teachers argue that their property rights include “the right not to be dismissed by abolition except in compliance with state law.” Appellants Br. at 33-34. Also, the teachers contend that their positions were not abolished, but, rather, were improperly delegated. The Board asserts that even if the teachers could establish a property interest in their positions, nonetheless the teachers received all of the process that they were due because the Board was acting in a legislative capacity when it abolished the alternative school.
Analysis of the teachers’ procedural-due-process claim involves two steps: establishing whether the teachers have a property interest in their positions, and determining what process (if any) is due them. Leary v. Daeschner, 228 F.3d 729, 741 (6th Cir.2000). However, even if we assume that the teachers have property interests in their teaching positions, we cannot conclude that the Board violated the teachers’ procedural-due-process rights because of the nature of the Board’s activities. In order to determine whether the teachers received due process, the facts of the case require us to categorize the actions of the Board as it went through the budgetary process that led to the abolishment of the alternative school.
When examining the activities of an entity such as the Board, “ ‘[w]e find little guidance in formalistic distinctions between “legislative” and “adjudicatory” or “administrative” government actions.’ ” Nasierowski Bros. Inv. Co. v. City of Sterling Heights, 949 F.2d 890, 896 (6th Cir. 1991) (quoting Harris v. County of Riverside, 904 F.2d 497, 501-02 (9th Cir.1990)). “Whether an act is legislative turns on the nature of the act, rather than on the motive or intent of the official performing it.” Bogan v. Scott-Harris, 523 U.S. 44, 54,118 S.Ct. 966, 140 L.Ed.2d 79 (1998); see also Nasierowski, 949 F.2d at 896. Legislative functions involve “integral steps in the legislative process.” Bogan, 523 U.S. at 55, 118 S.Ct. 966. In Bogan, the “hallmarks of traditional legislation” were described as “a discretionary, policymaking decision implicating the budgetary priorities of the city and the services the city provides to its constituents,” and actions that terminate a position “may have prospective implications that reach well beyond the particular occupant of the office.” Id. at 55-56, 118 S.Ct. 966. No notice or hearing is required before legislative action. 37712, Inc. v. Ohio Dep’t of Liquor Control, 113 F.3d 614, 619 (6th Cir.1997) (citing United States v. Fla. E. Coast Ry. Co., 410 U.S. 224, 244-45, 93 S.Ct. 810, 35 L.Ed.2d 223 (1973)). “[L]egislation normally is general in its scope rather than targeted on a specific individual, and its generality provides a safeguard that is a substitute for procedural protections.” Ind. Land Co., LLC v. City of Greenwood, 378 F.3d 705, 710 (7th Cir.2004).
*217Because the Board engaged in legislative activity when it made the budgetary determinations that eliminated the alternative school, we hold that the Board did not violate the teachers’ procedural-due-process rights. The Board’s decision to abolish the alternative school and contract with Kingswood in order to save money was the result of weighing budgetary priorities, a legislative activity. See Bogan, 523 U.S. at 55-56, 118 S.Ct. 966. Thus, because the Board was engaged in a legislative activity, there was no requirement that the teachers be given notice or an opportunity to be heard prior to the Board’s decision to abolish the alternative school. See 37712, Inc., 113 F.3d at 619. In such circumstances, “the legislative process provides all the process that is constitutionally due” when a plaintiffs alleged injury results from a legislative act “of general applicability.” 75 Acres, LLC v. Miami-Dade County, 338 F.3d 1288, 1292 (11th Cir.2003). Therefore, we hold that the Board’s actions did not violate the teachers’ procedural-due-process rights.
D. Substantive Due Process
In addition to their procedural-due-process claim, the teachers raise a substantive-due-proeess claim. The district court concluded that “all substantive due process claims collapse into the decision on the plaintiffs’ First Amendment ... Establishment Clause claim[ ].” J.A. at 73 (Dist. Ct. Op. at 13). The teachers argue that “[although substantive due process protections are limited, Plaintiffs may, in the context of a § 1983 action, establish a substantive due process claim when some state action has deprived them of a particular constitutional guarantee.” Appellants Br. at 43. The teachers contend that the record demonstrates that their positions were not eliminated, but “merely delegated to a religious organization” in violation of the Establishment Clause. Id. at 33-34. The Board, however, argues that because the teachers alleged a violation of the Establishment Clause, they may not recover under the generalized concept of substantive due process.
Substantive-due-process challenges usually do not survive if a provision of the Constitution directly addresses the allegedly illegal conduct at issue. Montgomery v. Carter County, 226 F.3d 758, 769 (6th Cir.2000). We have observed that
the Supreme Court has repeatedly cautioned that the concept of substantive due process has no place when a provision of the Constitution directly addresses the type of illegal governmental conduct alleged by the plaintiff. See, e.g., Graham v. Connor, 490 U.S. 386, 394-95, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989) (concluding that the reasonableness or unreasonableness of force used by police during an investigatory stop or arrest must be analyzed as a Fourth Amendment claim, rather than under “the more generalized notion of ‘substantive due process’ ”).
Id. Because the teachers’ Establishment Clause claim directly addresses the conduct at issue, we affirm the district court’s decision to dismiss the teachers’ substantive-due-process claim.
E. Legislative Immunity
The Board members raise legislative and qualified immunity as defenses to the claims brought against them by the teachers. Having granted summary judgment to the Board on all of the teachers’ claims, the district court held that the Board members’ defenses of legislative and qualified immunity were moot. However, because we are remanding the Establishment Clause claim to the district court, we must consider the parties’ arguments re*218garding immunity. Because we hold that the Board members are entitled to legislative immunity, we do not need to address their claim that they are entitled to qualified immunity.
The teachers argue that the individual Board members are not legislators, and that their actions were void under Dillon’s Rule.10 However, the Board members respond that they were performing a legislative function when they abolished the school, and, therefore, they should be granted legislative immunity. The Board members did not address the teachers’ Dillon’s Rule argument.
We recognize that local legislators can be sued both in their individual and in their official capacities. Although plaintiffs may sue a local legislator in his or her official capacity under § 1983, local legislators may invoke legislative immunity to insulate themselves as individuals from liability based on their legislative activities. Bogan, 523 U.S. at 49, 118 S.Ct. 966; Canary v. Osborn, 211 F.3d 324, 328 (6th Cir.2000) (citing Bogan, 523 U.S. at 49,118 S.Ct. 966); Minton v. St. Bernard Parish Sch. Bd., 803 F.2d 129, 134-35 (5th Cir. 1986) (holding that absolute legislative immunity would shield officials from liability in their individual capacity). In other words, local legislators will not face personal liability for their legislative activities. “The immunity granted ... applies whether the relief sought is money damages!,] or [declaratory or] injunctive relief.” Alia v. Mich. Supreme Court, 906 F.2d 1100, 1102 (6th Cir.1990); see Supreme Court of Va. v. Consumers Union of U.S, Inc., 446 U.S. 719, 732-33, 100 S.Ct. 1967, 64 L.Ed.2d 641 (1980). Officials who are not part of the legislature “are entitled to legislative immunity when they perform legislative functions.” Bogan, 523 U.S. at 55, 118 S.Ct. 966.
Because we determined in our analysis of the teachers’ procedural-due-process claim that the Board was performing a legislative function, we conclude that the members of the Board are entitled to legislative immunity in their individual capacities. See id. As noted above, the Board members did not need to be members of the legislature in order to enjoy legislative immunity. Id. The teachers, however, have argued that even if we find the actions of the Board to be legislative in nature, Dillon’s Rule should prevent application of legislative immunity in this case. Even if the Board did not have the power to abolish the alternative school under Tennessee law, the Board members may still enjoy legislative immunity as individuals in federal court for their legislative actions, sound or unsound. See R.S.W.W., Inc. v. City of Keego Harbor, 397 F.3d 427, 438 (6th Cir.2005) (citing Shoultes v. Laid-law, 886 F.2d 114, 117 (6th Cir.1989) for the proposition that even if an ordinance is *219held to be invalid, officials acting in their legislative capacities are absolutely immune from suit). Legislative immunity exists so that individuals can feel more comfortable volunteering to perform public-service functions, such as serving on their local school board. Because “the threat of liability may significantly deter service in local government, where prestige and pecuniary rewards may pale in comparison to the threat of civil liability,” Bogan, 523 U.S. at 52, 118 S.Ct. 966, legislative immunity continues to play an important role. Therefore, we hold that the Board members may be sued in their official capacities but may not be sued as individuals for money damages or declaratory or injunctive relief. Because the Board members are entitled to legislative immunity with respect to the claims made against them in their individual capacities, we need not address qualified immunity, which also is a doctrine applicable only in the context of individual-capacity suits.
III. CONCLUSION
For the reasons discussed above, we AFFIRM the district court’s conclusion that Smith did not have standing, but REVERSE its conclusion as to Forgety and Kucera, who have standing to bring suit as municipal taxpayers seeking to prevent misuse of their tax dollars. We REMAND the case to the district court for further proceedings consistent with this opinion.
Because we hold that the Board was performing a legislative function when it abolished the alternative school, we AFFIRM the district court’s grant of summary judgment to the Board on the teachers’ procedural-due-process claim. In addition, because we hold that the Establishment Clause claim adequately addresses the alleged substantive-due-process violation, we AFFIRM the district court’s dismissal of this claim.
As to the Board members’ legislative- and qualified-immunity defenses, we REVERSE the district court’s determination that the issue whether the Board members qualify for these protections is moot. We hold that the Board members are entitled to legislative immunity on the individual-capacity claims because their decisions about the budget were legislative in nature. Because we conclude that legislative immunity applies to the individual-capacity claims against the named Board members, we need not analyze whether the Board members are entitled to qualified immunity-

. Forgety filed suit on June 24, 2004 against the same entities and individuals that Smith and Kucera had filed suit against on November 13, 2003. Forgety, Smith, and Kucera did not oppose the defendants’ motion to consolidate the cases, and the district court ordered consolidation on January 18, 2005.


. The teachers sued the Director of Schools, Douglas R. Moody (who also served as Secretary to the Board) and the following Board members in both their official and individual capacities: Lana Leckie, Bill Powell, David Lockhart, Anne M. Potts, Greg Sharpe, and Louise Snodderly. The only Board member that the teachers did not sue, Emily Fox, voted against the program cuts that affected the alternative school.


. In this context, “fairly traceable” merely means that something must link the plaintiffs' *207job losses to the contract with Kingswood. State law requires the Board to establish at least one alternative school for grades seven through twelve. See Tenn.Code Ann. § 49-6-3402(a). Once the Board eliminated the alternative school and terminated the teachers, it was required to fund a new alternative school.
Chief Judge Batchelder's opinion contests this link by bifurcating the Board's decision into two steps, one eliminating the alternative school and another granting Kingswood the contract. However, the vote about how to replace the alternative school never would have occurred but for the school’s dissolution, and the vote about how to replace the alternative school was statutorily required after the school’s dissolution. The fact that the Board could have picked a secular replacement is beside the point. What matters is that the Board chose Kingswood. The requirement of a replacement school inextricably ties the plaintiffs’ lost jobs to the Kingswood contract.


. Judge Batchelder calls it "a matter of common sense” that the proper remedy for Establishment Clause violations is "an injunction or a declaratory judgment.” Op. at 225. Certainly, those forms of relief sometimes are the appropriate response to an Establishment Clause violation. There is no reason, however, to think that each right has exactly one appropriate remedy for all circumstances. See Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388, 410, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971) (Harlan, J., concurring) (arguing that, while suppression sometimes is the appropriate remedy for Fourth Amendment violations, "[f]or people in Bivens’ shoes, it is damages or nothing”). Judge Batchelder admits that the plaintiffs' injury in this case "hits in the pocketbook.” Op. at 224. Money damages clearly do redress a pocketbook loss.


. The Supreme Court carved out an exception to its rule against federal taxpayer standing in Flastv. Cohen, 392 U.S. 83, 88 S.Ct. 1942, 20 L.Ed.2d 947 (1968), which allowed such suits to challenge congressional expenditures alleged to violate the Establishment Clause. Id. at 103-05, 88 S.Ct. 1942. In Valley Forge, the Court clarified that this exception did not apply to Congress’s transfer of property to religious institutions under the Property Clause. Valley Forge, 454 U.S. at 479-80, 102 S.Ct. 752. In Hein v. Freedom From Religion Foundation, Inc., 551 U.S. 587, 127 S.Ct. 2553, 168 L.Ed.2d 424 (2007), the Court further clarified that the Flast exception would not extend to expenditures made by the Executive, even when the funds were initially appropriated to the Executive's discretionary budget by Congress. Id. at 605-09, 127 S.Ct. 2553. But none of these cases bear on municipal-taxpayer standing.


. The dissent mischaracterizes our opinion as an expansion of municipal-taxpayer standing such that "any county taxpayer [can] challenge any county action no matter whose interests are involved.” Dissent at 226. But as American Atheists makes clear, municipal-taxpayer standing itself is a recognition that constitutionally dubious municipal spending implicates the interests of each municipal taxpayer.


. Contrary to the dissent's assertion, we do not read DaimlerChrysler as "implicitly undo[ing] previously applicable limits on municipal taxpayer standing.” Dissent at 228 n. 1. Rather than altering Doremus’s reach, DaimlerChrysler conformed to the Court’s longstanding interpretation of Doremus.


. We note that two years later, in Thompson v. County of Franklin, 15 F.3d 245, 253 (2d Cir.1994), the Second Circuit misread City of New York as "announcing] that an individual, municipal taxpayer has standing to challenge the imposition of an allegedly illegal expenditure when she brings a good-faith pocketbook action.” Thompson, 15 F.3d at 253 (internal quotation marks omitted). The Thompson court appears to have focused on City of New York’s holding that an illegal expenditure sufficed for standing and overlooked that it declined to invoke Doremus’s "pocketbook action” language in the context of municipal taxpayers.


. A panel of this court cited Doremus in the context of a municipal-taxpayer case in Hawley v. City of Cleveland, 773 F.2d 736 (6th Cir. 1985), but only for the uncontroversial proposition that there exists "a distinction between the requirements of taxpayer standing in suits by federal taxpayers and suits by municipal taxpayers.” Id. at 741. More recently, a panel of this court cited Doremus’s "dollars-and-cents injury” language in American Atheists, 567 F.3d at 285. But that case neither explicitly extended Doremus to municipal taxpayers nor depended for its result on the application of the good-faith pocketbook-injury requirement, and any such extension would not be binding on the en banc court.


. " 'Dillon's Rule' originated with John F. Dillon, former Chief Justice of the Supreme Court of Iowa and former circuit judge for The United States Eighth Judicial Circuit.” Williams v. Town of Hilton Head Island, 311 S.C. 417, 429 S.E.2d 802, 804 n. 1 (1993) (citing John F. Dillon, Commentaries on the Law of Municipal Corporations (5th ed.), § 237, p. 448 (1911)). The state of Tennessee uses Dillon’s Rule as a canon of statutory construction when determining the authority of a municipality. Arnwine v. Union County Bd. of Educ., 120 S.W.3d 804, 807 (Tenn. 2003). Under Dillon’s Rule, a municipal government has "authority to act only when: (1) the power is granted in the express words of the statute, private act, or charter creating the municipal corporation; (2) the power is necessarily or fairly implied in, or incident to, the powers expressly granted; or (3) the power is one that is neither expressly granted nor fairly implied from the express grants of power, but is otherwise implied as essential to the declared objects and purposes of the corporation.” Id. at 807-08 (internal quotation marks, emphasis, and brackets omitted).

